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UNITED STATES DISTRICT COURT

 

 

 

SOUTHERN DISTRICT OF NEW YORK Ol ri{ 2
UNITED STATES OF AMERICA
~v- No. 15CR00468-06(VB)

ORDER
Derek Moorer,

Defendant.

 

 

Vincent L. Briccetti, U.S. District Judge:

It is ordered that Mr. Moorer is mandated to enter residential inpatient substance abuse
treatment to address his continued substance abuse issues. He has a long history of alcohol
abuse and has acknowledged that he is presently unable to maintain sobriety on his own. Due to
his current legal status and the dangerous consequences associated with the excessive use of
alcohol, it is hereby ordered that he reside, participate and complete the residential substance
abuse treatment program at Seafield Center, 7 Seafield Lane, Westhampton Beach, NY 11978
for 28-days. Moorer must report directly to Seafield Services at 110 Main Street, Mineola, NY
at lpm for his intake appointment for Seafield Center.

It is also ordered that on October 23, 2020 before 11:30am, the United States Marshals Service
shall release Defendant from the cell block on the fourth floor of the Daniel Patrick Moynihan
United States Courthouse to the United States Probation Officer, who will arrange transport to
the residential drug treatment facility.

SO ORDERED.
Dated: October 21, 2020

New York, New York J ud)

Vincent L. Briccetti
USS. District Judge

 
